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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 Kurt Hartshorn
                   Plaintiff,               Case No. 19-cv-13303

 v.                                         Paul D. Borman
                                            United States District Judge
 Andrew Saul, Commissioner of Social
 Security,                                  R. Steven Whalen
                                            United States Magistrate Judge
                Defendant.
 ________________________________/

                         OPINION AND ORDER
       (1) ADOPTING THE MAGISTRATE JUDGE’S REPORT AND
      RECOMMENDATION (ECF No. 16), (2) GRANTING DEFENDANT’S
      MOTION FOR SUMMARY JUDGMENT (ECF No. 15), (3) DENYING
            PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
           (ECF No. 14), AND AFFIRMING THE FINDINGS OF THE
                             COMMISSIONER

      On March 2, 2021, Magistrate Judge R. Steven Whalen issued a Report and

Recommendation (ECF No. 16) addressing the cross-motions for Summary

Judgment filed in this matter (ECF Nos. 14, 15). In the Report and Recommendation,

Magistrate Judge Whalen recommends the Commissioner’s Motion (ECF No. 15)

be granted and Hartshorn’s Motion (ECF No. 14) be denied, and pursuant to 42

U.S.C. § 405(g), the ALJ’s decision be affirmed.

      Having conducted a review of the Magistrate Judge’s Report and

Recommendation and there being no timely objections under 28 U.S.C. § 636(b)(1)

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and E.D. Mich. L.R. 72.1(b), this Court ADOPTS the Report and Recommendation

of Magistrate Judge Whalen that GRANTS the Commissioner’s Motion, DENIES

Hartshorn’s motion and AFFIRMS the decision of the Commissioner.

SO ORDERED.




                                          s/Paul D. Borman
Dated: March 25, 2021                     Paul D. Borman
                                          United States District Judge




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